              Case 4:23-cv-04155-YGR Document 161-3 Filed 02/17/24 Page 1 of 6



 1                                  IN THE UNITED STATES DISTRICT COURT

 2                       NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

 3 CALIFORNIA COALITION FOR WOMEN                         CASE NO. 4:23-CV-04155-YGR
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
 4 G.M.; A.S.; and L.T., individuals on behalf of
   themselves and all others similarly situated,
 5
                      Plaintiffs
 6               v.                                           DECLARATION OF ARTHUR DULGOV

 7 UNITED STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
 8 BUREAU OF PRISONS DIRECTOR
   COLETTE PETERS, in her official capacity;
 9 FCI DUBLIN WARDEN THAHESHA JUSINO,
   in her official capacity; OFFICER
10 BELLHOUSE, in his individual capacity;
   OFFICER GACAD, in his individual capacity;
11 OFFICER JONES, in his individual capacity;
   LIEUTENANT JONES, in her individual
12 capacity; OFFICER LEWIS, in his individual
   capacity; OFFICER NUNLEY, in his individual
13 capacity, OFFICER POOL, in his individual
   capacity, LIEUTENANT PUTNAM, in his
14 individual capacity; OFFICER SERRANO, in
   his individual capacity; OFFICER SHIRLEY, in
15 his individual capacity; OFFICER SMITH, in his
   individual capacity; and OFFICER VASQUEZ,
16 in her individual capacity,

17                        Defendants.

18 I, Arthur Dulgov, hereby declare as follows:

19       1. I am currently the Interim Warden at the Federal Correctional Institution (“FCI”) at Dublin,

20            California, which is part of the Federal Bureau of Prisons (“BOP”), United States Department of

21            Justice. I have occupied this position since December 2023; have b een an employee of the BOP

22            since 2008; have worked in many other BOP institutions such as the Metropolitan Correctional

23            Center at San Diego and the Federal Correctional Complex at Victorville, California. Prior to

24            my current assignment, I was the Warden at FCI Safford, Arizona. As the Interim Warden, I

25            have supervisory oversight over FCI Dublin, which has the same authority and responsibility as a

26            permanent Warden. The title of Interim Warden merely reflects BOP’s immediate need to

27            reassign an established Warden to a BOP facility.

28

     DECLARATION OF ARTHUR DULGOV
     4:23-CV-04155-YGR                                    1
              Case 4:23-cv-04155-YGR Document 161-3 Filed 02/17/24 Page 2 of 6



 1       2. FCI Dublin is comprised of two facilities: a low security female correctional facility that is also

 2            commonly referred to as FCI Dublin Low, and a minimum-security female prison camp that is

 3            commonly referred to as the Satellite Camp Prison at FCI Dublin (“SCP Dublin”).

 4       3. My duties and responsibilities as the Warden include supervising an Executive Staff team

 5            comprised of Associate Wardens and an Executive Assistant. In turn, my Executive Staff

 6            supervise department-head level staff, such as the Captain. While many of my duties encompass

 7            large-scale matters like budget and resource allocations, or overseeing institutional policies and

 8            practices, I also routinely interact with both staff and inmates on a daily basis, and pers onally

 9            monitor various areas and operations throughout FCI Dublin. There are also certain BOP

10            policies that mandate a Warden’s review and approval, such as requesting the transfer of an

11            inmate.

12       4. BOP Program Statement (PS) 5100.08, CN-1, Inmate Security Designation and Custody

13            Classification, Chapter 7, describes most of BOP’s transfer procedures. A true and correct copy

14            of Chapter 7 of PS 5100.08, CN-1, is attached hereto as Exhibit 1. The entire policy is publicly

15            available at www.bop.gov This policy allows for different kinds of transfers, such as a

16            “Temporary Transfer” for security reasons. In such an event, I need to request approval from the

17            Designation and Sentence Computation Center (“DSCC”), which is BOP’s centralized entity for

18            reviewing and approving transfers.

19       5. On January 31, 2024, inmate R           F          , Register No.          (“F         ”), was placed

20            in the Special Housing Unit (“SHU”) based on the belief that she might have been encouraging

21            other inmates to file false complaints against staff. This allegation was subsequently determined

22            to be invalid. A true and correct copy of the Administrative Detention Order for this placement,

23            explaining that she was placed in SHU “pending a SIS investigation” is attached hereto as

24            Exhibit 2.

25       6. On February 1, 2024, staff assigned to the SHU reported that F             said she would not be

26            eating or drinking until she was released from SHU. Two other SHU inmates, K                J   ,

27            Register No.             (“    ”), and N      A          , Reg. No.            (“A         ”) also

28            stated their intention to go on a hunger strike. A true and correct copy of the memorandum from

     DECLARATION OF ARTHUR DULGOV
     4:23-CV-04155-YGR                                     2
              Case 4:23-cv-04155-YGR Document 161-3 Filed 02/17/24 Page 3 of 6



 1            staff member            dated February 1, 2024, that reported these statements why these inmates

 2            were in the SHU Recreation area, is attached hereto as Exhibit 3. J     ’s stated reason for joining

 3            F          on a hunger strike was because of a cell change, and A         appeared to be joining as

 4            a show of support for J       Id. This exhibit is an internal document relating to the specifics of

 5            institution management. This document is a sensitive document based on privacy as different

 6            inmate names are mentioned, and because it contains a reference to our staffing situation, which

 7            if disclosed, could jeopardize institutional safety and security. There is also a reference in this

 8            document about staff exercising her discretion to make an exception related to our established

 9            processes, which would be disruptive to the orderly running of the institution at it would describe

10            a method and/or precedent for bypassing our established practices.

11       7. PS 5562.05, Hunger Strikes, provides guidance whenever an inmate engages in a hunger strike.

12            A hunger strike can be announced by an inmate or observed by staff, such as when an inmate

13            starts refusing meals over a period of time. Once there is sufficient reason to believe inmate(s)

14            are engaging in a hunger strike, various protocols are initiated, such as psychological and

15            medical follow-up. A true and correct copy of PS 5562.05 is attached hereto as Exhibit 4, and is

16            publicly available at www.bop.gov

17       8. On February 3, 2024, psychology staff performed Hunger Strike Reviews of inmates in SHU,

18            who were suspected of being on hunger strike based on either their announcement of such, or

19            because they missed one or more meals. Inmate C            I   S         -L      , Reg. No.

20                 (“S          -L      ”), indicated he was on a hunger strike to “see if I could.” A true and

21            correct copy of the Hunger Strike Review for S           -L         for 2/3/24 is attached hereto as

22            Exhibit 5. All of the Hunger Strike Review documents are mental health records that are created

23            and maintained by BOP psychology staff and marked “Sensitive But Unclassified.” These

24            records are so labeled because they contain private information, such as psychology staff’s

25            subjective observations and opinions and related medical information. BOP mental health and

26            medical records are considered extremely sensitive information, and only shared with other BOP

27            staff on a need-to-know basis. BOP psychology services policy further requires the internal

28            review of their records before disclosure to their patients, to ensure release would not be harmful.

     DECLARATION OF ARTHUR DULGOV
     4:23-CV-04155-YGR                                      3
              Case 4:23-cv-04155-YGR Document 161-3 Filed 02/17/24 Page 4 of 6



 1            See Program Statement 5310.17, Psychology Services Manual, pages 26-27, available at

 2            www.bop.gov To protect inmates and to observe federal law (5 U.S.C. § 552a (Privacy Act), FCI

 3            Dublin does not and may not publicly disclose such information.

 4       9. Inmate Y                    F          , Reg. No.               (“F        ”), began refusing meals on

 5            February 1, 2024, did not speak to Psychology staff when they visited on February 3, 2024, but

 6            did not appear to be in distress. A true and correct copy of the Hunger Strike Review for

 7            F          for 2/3/24 is attached hereto as Exhibit 6.

 8       10. Inmate L               R    -T        , Reg. No.               (“R       -T    ”), explained she was on

 9            hunger strike to communicate her frustration with different things, e.g., being apart from her

10            girlfriend who was housed in a different area in SHU. A true and correct copy of the Hunger

11            Strike Review for R           -T        for 2/3/24 in attached hereto as Exhibit 7.

12       11. Inmate C               A       M          , Reg. No.               (“M        ”), began missing meals on

13            February 2, 2024, did not speak to Psychology staff when they visited on February 3, 2024, but

14            did not appear to be in distress. A true and correct copy of the Hunger Strike Review for

15            M            for 2/3/24 is attached hereto as Exhibit 8.

16       12. Inmate A         E         R        , Reg. No.               (“R     ”) stated she was on hunger strike

17            because of her continued placement in SHU. A true and correct copy of the Hunger Strike

18            Review for R          for 2/3/24 is attached hereto as Exhibit 9.

19       13. Inmate L           Z        , Reg. No.                 (“Z     ”) stated he went on hunger strike due to

20            concerns with her medical treatment. A true and correct copy of the Hunger Strike Review for

21            Z          for 2/3/24 is attached hereto as Exhibit 10.

22       14. Inmate B          E         , Reg No.               (“E        ”) stated he was on hunger strike because

23            of his SHU placement. A true and correct copy of the Hunger Strike Review for E                    for

24            2/3/24 is attached hereto as Exhibit 11.

25       15. Although these aforementioned inmates in the SHU appeared to h ave different reasons for why

26            they were refusing meals and stating their intention to be on a hunger strike, I was concerned

27            with F         ’s role in either motivating or directing them to join her in a hunger strike. It is my

28            experience that hunger strikes can lead to serious health concerns that may eventually require

     DECLARATION OF ARTHUR DULGOV
     4:23-CV-04155-YGR                                          4
              Case 4:23-cv-04155-YGR Document 161-3 Filed 02/17/24 Page 5 of 6



 1            forced medical intervention. In addition, monitoring and attending to inmates on a hunger strike

 2            means it becomes more challenging for SHU staff to attend to the other SHU inmates who are

 3            not on hunger-strike, such as accommodating recreation time, exchanging supplies and linens,

 4            and facilitating access to the law library. As a result, on February 3, 2024, I began

 5            contemplating transferring F            temporarily to another BOP facility to red uce of risk of more

 6            inmates going on a hunger strike, pending further investigation into F             ’s role. At this

 7            time, F          had missed nine meals (9), J        had missed seven meals (7), R       -T         had

 8            missed five (5) meals, and the rest (i.e., S           -L      ,R     ,M          ,E          ,F          ,

 9            Z          ,S         ) had missed three (3) meals, which was over a three-day period. As part of my

10            evaluation and decision-making process, I consulted with BOP Legal staff, who advised me I

11            could follow normal BOP procedures, which included a possible temporary transfer.

12       16. From February 3, 2024, through February 5, 2024, I did not transfer F               while she was still

13            fully engaging in a hunger strike as I was concerned moving her might further complicate health

14            concerns. When I was informed F                accepted a nutritional drink on February 6, 2024, I then

15            decided it would be prudent to temporarily move F               to another facility so we could better

16            regain order in the SHU, pending further investigation of F             ’s ac tual role in the hunger

17            strikes. I was concerned a prolonged hunger strike and/or an expanded hunger strike in SHU

18            would pose a serious threat to the safety and safety of call concerned in SHU. So, on February 6,

19            2024, after again consulting with BOP Legal staff, I submitted a request to the DSCC to transfer

20            F          . A true and correct copy of my request is attached hereto as Exhibit 12. This exhibit is

21            an internal document relating to the specifics of institution management. This document is

22            sensitive because it includes our preliminary and professional assessment of the situation, which

23            if publicly disclosed, may adversely affect the safety and security of the subject(s), particularly

24            as this assessment in this memo may lack context and subject to further investigation . The

25            DSCC approved this request on the same day, and inmate F                   was transferred to the

26            Metropolitan Detention Center (“MDC”) at Los Angeles, California, on the same date .

27       17. From SHU housing records which track meals accepted and refused, each of the above -

28            referenced inmates selectively resumed eating at different dates and times. For example,

     DECLARATION OF ARTHUR DULGOV
     4:23-CV-04155-YGR                                         5
              Case 4:23-cv-04155-YGR Document 161-3 Filed 02/17/24 Page 6 of 6



 1            E          refused the morning and lunch meal on February 4-5, 2024, but did accept the evening

 2            meal on these days. E         then resumed accepting all three meals on February 6, 2024. A true

 3            and correct copy of E          SHU Housing Record from January 27, 2024, through February

 4            10, 2024, is attached hereto as Exhibit 13. SHU Housing Records contain private and sensitive

 5            information about inmates and are not publicly available. SHU Housing Records may list

 6            sensitive reasons for a person’s placement in SHU, include notes about special visitors, and/or

 7            contain separatee information (e.g., name of another inmate whom they need to be apart from).

 8            For instance, a SHU Housing Record notating a pending transfer may be a security breach if the

 9            inmate is not yet aware of such an event, and a note that investigative staff spoke with the inmate

10            can compromise confidentiality. Accordingly, SHU Housing Records contain information about

11            inmates and related sensitive operations that are not publicly disclosed. F          accepted her

12            first meal at lunch on February 6, 2024, refused the evening meal later that day, and then began

13            accepting all meals on February 7, 2024. A true and correct copy of F               SHU Housing

14            Record from January 28, 2024, through February 10, 2024, is attached hereto as Exhibit 14.

15            Based on the SHU Housing Records for these inmate, not including F               it appears every

16            inmate was accepting every meal by February 9, 2024.

17       18. On February 16, 2023, F           returned to FCI Dublin. F         will be permitted to remain in

18            general population pending the completion of an investigation.

19            I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true and
20
     correct. Executed this 17th day of February, 2024, at Dublin, CA.
21

22                                                                            Digitally signed by ARTHUR DULGOV
                                                           ARTHUR   DULGOV
                                                           ______________________________________
                                                                              Date: 2024.02.17 11:51:50 -08'00'
23                                                         ARTHUR DULGOV
24                                                         Interim Warden
                                                           Federal Correctional Institution, Dublin, CA
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     DECLARATION OF ARTHUR DULGOV
     4:23-CV-04155-YGR                                     6
